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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN


In re:
                                                          Chapter 11
BARFLY VENTURES, LLC, et al,                               Case No. 20-01947-jwb
                                                           Hon. James W. Boyd
                       Debtors.                           Jointly Administered



       SUPPLEMENTAL FEE STATEMENT OF SUGAR FELSENTHAL GRA1S &
    HELSINGER LLP PURSUANT TO FINAL APPLICATION FOR COMPENSATION &
             REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE
              OFFICIAL COMMITTEE OF UNSECURED CREDITORS

         Sugar Felsenthal Grais & Helsinger LLP C'SRjjT'), counsel to the Official Committee of

Unsecured Creditors of Barfly Ventures, LLC (the "Committee'') appointed in the above-

captioned chapter 11 cases, submits this Supplemental Fee Statement for compensation for

services rendered and reimbursement of expenses incurred as counsel to the Committee from

March 1, 2021 through March 31, 2021 (the "Supplemental Period'") pursuant to the Final

Application for Compensation & Reimbursement of Expenses as Counsel to the Official

Committee of Unsecured Creditors [Doc. No. 442] (the "Final Fee Statement"):




i
  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(l 129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and
Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden's
Restaurant Saloon)(4255).


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Professional (name and address):                 Sugar Felsenthal Grais & Helsinger, LLP
                                                 30 N. LaSalle Street, Suite 3000
                                                 Chicago, IL 60602

Fees requested:                                  $2,400.00

Expenses requested:                              $0.00


A detailed statement regarding the fees and expenses incurred by SFGH during the Supplemental

Period is attached hereto as Exhibit 1.

       As set forth in the Final Fee Application, the estate professionals proposed that no later

than eight days before they submitted proposed orders approving their final fee applications.

such professionals would file supplemental fee statements with respect to any additional fees or

expenses incurred subsequent to the period covered in the final fee applications. The estate

professionals proposed to serve such supplemental fee statements on the notice parties set forth

in the Compensation Order (as that term is defined in the Final Fee Application) with such notice

providing that the notice parties shall have a period of seven days to file any objections to the

supplemental fee statements. The Final Fee Application contemplates that if no objections are

timely filed, then the fees and expenses set forth in the supplemental fee statements will, subject

to Court approval, likewise be deemed allowed on a final basis.

       No hearing will be set before the Court with respect to this supplemental fee

statement unless a written objection is timely filed with the Clerk of the Bankruptcy Court.

If you have any objection, you have seven days from the date of service of this

supplemental fee statement in which to file such written objection. If an objection is filed, a




2Pursuant to the Committee's retention of SFGH, SFGH invoices the Committee at a blended
hourly rate of $500.
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subsequent notice will be sent to you of the date, time and location of the hearing on the

objection.

                    ANY OBJECTION MUST BE TIMELY FILED WITH:

                              United State Bankruptcy Court
                                   One Division North
                              Grand Rapids, Michigan 49503

                A COPY OF ANY OBJECTION MUST ALSO BE SENT TO:

                              Jaffe Raitt Heuer & Weiss, P.C.
                                     Attn: Paul R. Hage
                                27777 Franklin, Suite 2500
                                Southfield, Michigan 48034
                                    phage(5).jaffelaw.com

                                          Respectfully submitted by.


                                         JAFFE RAIT HEUER & WEISS, P.C.

                                          Bv:    /s/ Paul R. Hage
                                          Paul R. Hage (P70460)
                                          27777 Franklin Road, Suite 2500
                                          Southfield, MI 48034
                                          Phone: (248)351-3000
                                          plmge@iatYelavv.com

                                          -and-

                                          SUGAR FELSENTHAL GRAIS &
                                          HELSINGER, LLP

                                          Michael A. Brandess
                                          30 N. LaSalle Street, Suite 3000
                                          Chicago, IL 60602
                                          Phone: (312) 704-9400
                                          mbrandess@sfgh.com

                                         Counsel to the Official Committee of Unsecured
                                         Creditors of Barfly Ventures, LLC et al.

Dated: April 7, 2021.
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                                          SUGAR FELSENTHAL GRAIS & HELSINGER LLP
                                                    30 N. LaSalle Street
                                                       Suite 3000
                                                    Chicago, IL 60602
                                                      (312)704-9400




                                                                                                                     Page: 1
      Official Committee of Unsecured Creditors                                                                   03/31/2021
      Barfly Ventures, LLC, et al.                                                                 Account No:    10836-001
      do Gordon Food Service, Inc.                                                               Statement No:       269955
      Attn: Sharon Murphy, Dirof Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      General Case Administration


                                                              Fees

                                                                                                          Hours
03/02/2021    MAB    Telephone conference with Paul Hage regarding case conversion issues
                     (0.8).                                                                                0.80      460.00

03/03/2021    MAB    Draft email memorandum to professional working group regarding case
                     conversion issues (0.4).                                                              0.40      230.00

03/04/2021    MAB    Prepare for and participate in Mark Sellers' confirmation hearing (0.9);
                     multiple telephone conferences and email correspondence with case
                     professionals regarding conversion and next steps (0.7).                              1.60      920.00

03/23/2021    MAB    Email correspondence with Paul Hage regarding Mark Sellers' bankruptcy
                     case (0.2).                                                                           0.20      115.00
                     For Current Services Rendered                                                         3.00     1,725.00

                                                         Recapitulation
              Timekeeper                                               Hours              Rate         Total
              Michael A. Brandess                                       3.00           $575.00     $1,725.00


                     Total Current Work                                                                             1,725.00
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                                         SUGAR FELSENTHAL GRAIS & HELSINGER LLP
                                                   30 N. LaSalle Street
                                                      Suite 3000
                                                   Chicago, IL 60602
                                                     (312)704-9400




                                                                                                                Page:1
      Official Committee of Unsecured Creditors                                                              03/31/2021
      Barfly Ventures, LLC, et al.                                                            Account No:    10836-005
      do Gordon Food Service, Inc.                                                          Statement No:        269956
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Applications - SFGH


                                                                Fees

                                                                                                    Hours
03/02/2021    MAB    Prepare final fee application (1.3).                                            1.30       747.50

03/04/2021    MAB    Review and revise fee application (0.9).                                         0.50      287.50
                     For Current Services Rendered                                                    1.80     1,035.00

                                                            Recapitulation
              Timekeeper                                                  Hours      Rate         Total
              Michael A. Brandess                                         1.80    $575.00     $1,035.00




                     FOR YOUR CONVENIENCE, PLEASE PAY THIS INVOICE ONLINE THROUGH
                     "PAY MY BILL" LINK AT WWW.SFGH.COM
                     AS A COURTESY, WE WILL CREDIT BACK ANY CREDIT CARD
                     PROCESSING FEE YOU INCUR, ON YOUR NEXT INVOICE
